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     Erik Neunhoffer                                                    July 02, 2024
                                                                                    ·


·1· · · · · · · ·UNITED STATES DISTRICT COURT                         EXHIBIT
· · · · · · · · ·SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · GALVESTON DIVISION                                  1
·3

·4· GLANDER INTERNATIONAL· · · · ·:
· · BUNKERING, INC.· · · · · · · ·:
·5· · · ·Plaintiff,· · · · · · · ·:
· · · · · · · · · · · · · · · · · :
·6· · · · · · · · · · · · · · · · :
· · v· · · · · · · · · · · · · · ·: C.A.NO. 3:23-cv-0001
·7· · · · · · · · · · · · · · · · : IN ADMIRABILITY,
· · · · · · · · · · · · · · · · · : Rule 9(h)
·8· NUSTAR ENERGY SERVICES, INC. :
· · · · ·Defendant.· · · · · · · ·:
·9

10
· · · · · · · · ·ORAL AND VIDEO DEPOSITION OF
11· · · · · · · · · · ·ERIK NEUNHOFFER
· · · · · · · · · · · · ·JULY 2, 2024
12· · · · · · · · · ·(Reported Remotely)

13

14

15
· · · · · · · Oral and Video deposition of Erik Neunhoffer,
16
· · produced as a witness at the instance of Plaintiff, and
17
· · duly sworn, was taken in the above-styled and numbered
18
· · cause on July 2, 2024, from 11:04 a.m. to 12:47 p.m.,
19
· · before Jennifer Ivanic, Notary Public, in and for the
20
· · State of Texas, reported by machine shorthand method,
21
· · pursuant to the Federal Rules of Civil Procedure, and
22
· · the provisions stated on the record or attached hereto.
23

24

25




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·1· · · · · · · · · A P P E A R A N C E S

·2

·3

·4· FOR THE PLAINTIFF:
· · WALTER GALLANT, ESQ.
·5· Lewis Brisbois Bisgaard & Smith, LLP
· · 24 Greenway Plaza, Suite 1400
·6· Houston, Texas 77046
· · walter.gallant@lewisbrisbois.com
·7

·8· FOR DEFENDANT:
· · DIMITRI GEORGANTAS, ESQ.
·9· 1415 Louisiana, Suite 4200
· · Houston, Texas 77002
10· dimitri.georgantas@roystonlaw.com

11
· · BLAKE BACHTEL, ESQ
12

13

14
· · ALSO PRESENT:
15
· · · · ·Jennifer Ivanic, Court Reporter and Notary Public
16
· · · · ·Daniel Long, Videographer
17

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·5· · · Examination by Mr. Georgantas. . . . . . . . . . .5

·6· · · Cross-Examination by Mr. Gallant. . . . . . . . .51

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15· · Plaintiff's Exhibit 1· · · ·Nomination· · · · · · ·15

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18· · Plaintiff's Exhibit 4· · · ·NuStar Invoice· · · · ·35

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·1· · · ·Q.· ·So as an initial sort of understanding
·2· between us, do you agree that the bunkers that were
·3· delivered to the vessel, Clipper Enyo, were, in fact,
·4· off-spec or did not otherwise meet the contractual
·5· specification?
·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·Thank you for that.· That will save us some
·8· questions.
·9· · · · · · Now sometimes I may refer to the vessel.
10· When I say "vessel," I'm referring to the Clipper Enyo,
11· which was the vessel that received the bunkers.· You
12· understand that, correct?
13· · · ·A.· ·Yes.· Enyo, yes.
14· · · ·Q.· ·Enyo.· Let me start going.· I have four or
15· five exhibits today that I want to go through with you.
16· And we're going to try to put them up on the -- on the
17· screen for you, but I can represent to you, you're
18· familiar with all these documents.· They consist of the
19· nomination, the sales agreement, maybe the delivery
20· receipt, and at the end there is going to be a string
21· of emails that were between my client and NuStar when
22· the problem became apparent.
23· · · · · · So just going through chronologically --
24· let -- before I do that, let me ask another question.
25· This was not the first transaction that NuStar did with




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·1· · · · · · · · · · · P R O C E E D I N G S

·2
· · · · · · · · · · · VIDEOGRAPHER:· We're now on the
·3
· · record, and this begins Media Number 1 in the video
·4
· · deposition of Erik Neunhoffer in the matter of Glander
·5
· · International Bunkering, Inc. versus NuStar Energy
·6
· · Services, Inc. in the United Stated District Court,
·7
· · Southern District of Texas, Galveston Division.
·8
· · · · · · · Today's date is July 2nd, 2024, and time on
·9
· · the monitor is 11:04 a.m.· This deposition is being
10
· · taken remotely, via Zoom conference.· The witness is
11
· · appearing from San Antonio, Texas, at the request of
12
· · Royston, Rayzor, Vickery & Williams, LLP.· The
13
· · videographer today is Daniel Long with Magna Legal
14
· · Services.· And the court reporter today is Jennifer
15
· · Ivanic of Magna Legal Services.
16
· · · · · · · Will counsel and all parties present, state
17
· · their appearance and whom they represent.
18
· · · · · · · · · · · MR. GEORGANTAS:· Dimitri Georgantas
19
· · and Blake Bachtel for the plaintiff.
20
· · · · · · · · · · · MR. GALLANT:· Walter Gallant for
21
· · NuStar Energy.
22
· · · · · · · · · · · VIDEOGRAPHER:· Will the court
23
· · reporter, please swear in the witness.
24
· · · · · · · · · · · COURT REPORTER:· Yes.
25
· · · · · · · Mr. Neunhoffer, will you please raise your




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·1· · · ·Q.· ·(BY MR. GEORGANTAS)· What's your
·2· understanding of the disagreement?
·3· · · ·A.· ·That aluminum and silicone were high or
·4· outside of ISO spec, and that there is a -- that
·5· Glander is seeking remedy to that.· They claimed us for
·6· it.
·7· · · ·Q.· ·For all the costs associated with that claim,
·8· correct?
·9· · · ·A.· ·I don't know exactly what all the costs
10· they're -- they're -- they're claiming for.· I don't
11· know what they're all -- what they are pursuing
12· completely.
13· · · ·Q.· ·Well, who would know that from NuStar?
14· · · ·A.· ·Likely, Andy.
15· · · ·Q.· ·Okay.· Continuing with that sentence, do you
16· have any information that Glander's rejection of the
17· marine fuel or the bunkers was -- was wrongful in the
18· circumstances?
19· · · · · · · · · · MR. GALLANT:· Objection.· Lack of
20· foundation.
21· · · · · · You can answer, Erik.
22· · · ·A.· ·No, I don't know.
23· · · ·Q.· ·(BY MR. GEORGANTAS)· Well, we -- we know that
24· the bunkers were off-spec.· They were bad bunkers,
25· correct?




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·1· · · ·A.· ·Yes.
·2· · · ·Q.· ·And the vessel did not use them, so they were
·3· basically rejected, correct?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·Do you consider that rejection to be wrongful
·6· that the -- that Glander and/or the vessel did not want
·7· to use off-spec bunkers?
·8· · · ·A.· ·I don't have an opinion on that.
·9· · · ·Q.· ·So you think they should have gone ahead and
10· used them, even though they were off-spec?
11· · · ·A.· ·I'm not -- I'm not a technical -- I'm not an
12· engineer.· I'm not a chief engineer.· I just -- I
13· just -- I couldn't speak to that.
14· · · ·Q.· ·Well, it's not a chief engineer question.
15· We're talking about off-spec bunkers.· We've agreed on
16· that, correct?
17· · · ·A.· ·Yes.
18· · · ·Q.· ·And the buyer in this case, Glander, and
19· their customer rejected them because they were
20· off-spec, correct?
21· · · ·A.· ·Correct.
22· · · ·Q.· ·So do you think that rejection was wrongful
23· per the language of your terms and conditions that they
24· rejected off-spec bunkers?
25· · · · · · · · · · MR. GALLANT:· Objection.· Lack of




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·1· foundation.
·2· · · ·A.· ·I really just don't feel comfortable
·3· answering that because I just -- I don't know.· There
·4· is -- there could be other avenues I can't speak to
·5· technically, operationally.· I just -- I don't know.
·6· There's a number of different things that could have
·7· happened.
·8· · · ·Q.· ·(BY MR. GEORGANTAS)· Do you have any
·9· information whether the buyer in this case, Glander,
10· was in violation of this agreement?
11· · · ·A.· ·I don't know.
12· · · ·Q.· ·So you don't know -- you don't have any
13· information?· If you -- if you had some, you would tell
14· me, right?
15· · · ·A.· ·I would think so.
16· · · ·Q.· ·Right.· So the answer is -- is no?
17· · · ·A.· ·To my knowledge, right now I -- repeat the
18· question again, please.
19· · · ·Q.· ·The question was -- and, of course, to your
20· knowledge whether the -- the buyer in this case,
21· Glander, did anything to violate this agreement?
22· · · · · · · · · · MR. GALLANT:· Objection.· Form.· Lack
23· of foundation.
24· · · ·A.· ·I don't know if they did.
25· · · ·Q.· ·(BY MR. GEORGANTAS)· Well, if you had any




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